Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 1 of 242 Page ID
                                 #:9572

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                                                                              CMJ
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 14   [Additional Counsel on Signature Page]
      Interim Co-Lead Class Counsel
 15
 16                        UNITED STATES DISTRICT COURT

 17                       CENTRAL DISTRICT OF CALIFORNIA

 18   GORDON AND MARY FELLER, and                    Case No. 2:16-cv-01378-CAS-AJW
      ANDREW KRIEGMAN, as trustee for the
 19   ADRIENNE L. HENDLER REVOCABLE
      TRUST dated 6/4/1993, the ELIZABETH            SECOND CONSOLIDATED
 20                                                  AMENDED CLASS ACTION
      KRIEGMAN REVOCABLE TRUST dated
                                                     COMPLAINT
 21   6/8/1993, and the PATRICIA SOKOLOW
      REVOCABLE TRUST dated 6/4/1993, and            DEMAND FOR JURY TRIAL
 22   GERALD R. LYONS, DONNA M. AND                  1.   Breach of Contract
 23   CLARENCE E. WHITE, and GAIL                    2.   Breach of the Implied Covenant
      THOMPSON, individually and as Power of              of Good Faith and Fair Dealing
 24   Attorney for LOIS THOMPSON, and ERIC           3.   Breach of Duty of Good Faith
      SCHNECK as trustee for the BURTON I.                and Fair Dealing
 25
      SCHNECK IRREVOCABLE LIFE                       4.   Injunctive and Restitutionary
 26   INSURANCE TRUST dated 2/24/1997, on                 Relief pursuant to Cal. Bus. &
 27                                                       Prof. Code §17200, et seq.

 28        SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 2 of 242 Page ID
                                 #:9573


       behalf of themselves and all others similarly      5.   Declaratory Relief
   1
       situated,                                          6.   Preliminary and Permanent
   2                                                           Injunctive Relief
                       Plaintiffs,                        7.   Elder Abuse pursuant to Cal.
   3                                                           Wel. & Inst. Code §15657.5, et
   4            vs.                                            seq.

   5 TRANSAMERICA LIFE INSURANCE
       COMPANY,
   6
   7                   Defendant.
   8            Plaintiffs, by and through the undersigned attorneys, bring this action on
   9 behalf of themselves and all others similarly situated against Defendant
  10 Transamerica Life Insurance Company (“Transamerica”). Plaintiffs allege the
  11 following on information and belief, except as to those allegations that pertain to
  12 the named Plaintiffs, which are alleged on personal knowledge.
  13                                 NATURE OF THE ACTION
  14                   In the late 1980s and early 1990s, Transamerica sold hundreds of
  15       millions of dollars in universal life insurance policies under which it agreed to
  16       credit interest on policyholders’ accounts at guaranteed annual rates generally
  17       ranging between 4.0% and 5.5% (the “Policies”).1 Plaintiffs and the Class members
  18       bought these Policies so that they and their families would be protected as they
  19       entered their senior years. But, beginning in August 2015, Transamerica suddenly,
  20       unilaterally, and massively began increasing the monthly deductions withdrawn
  21       from the Policies’ accumulation accounts by as much as 100% (the “MD
  22       Increase”), falsely stating that the increase was permitted by the terms of the
  23       Policies. Transamerica’s true reasons for imposing the drastic MD Increase
  24       however, were to: (a) subsidize its cost of meeting its interest rate guarantees under
  25   1
       Plaintiffs in this action allege no claim premised on deception at the time of sale
  26 of the Policies or any other pre-sale conduct by Transamerica; Plaintiffs’ claims are
     instead exclusively premised on Transamerica’s actions in imposing the MD Rate
  27
     Increase beginning in August 2015.
  28
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                SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 3 of 242 Page ID
                                 #:9574



   1   the Policies; (b) to recoup past losses in violation of the terms of the Policies; and
   2   (c) induce policy terminations by elderly policyholders.
   3               To maximize the number of elderly policyholders who would
   4   surrender their Policies and lose their insurance coverage, Transamerica sent letters
   5   to policyholders directing them to contact a designated Transamerica hotline with
   6   any questions about the annual premiums increase, rather than the agents who they
   7   had dealt with for many years. Transamerica has also begun to refuse to provide
   8   policyholders with illustrations showing how their Policies will perform as a result
   9   of the MD Increase.       Instead, Transamerica will now only provide policy
  10   illustrations depicting how the Policies would perform if the Monthly Deduction
  11   Rates were raised to a level even higher than the rates imposed by the MD Increase.
  12   . Transamerica hopes that by showing elderly policyholders the most pessimistic
  13   Policy performance possible, they will surrender their Policies. As a result of
  14   Transamerica’s actions, thousands of class members are faced with the imminent
  15   harm of either paying the exorbitant and unjustified new charges, or forever losing
  16   the benefits for which they have dutifully paid premiums for many years.
  17               Plaintiffs in this action seek injunctive and equitable relief, and
  18   ancillary damages, to halt and reverse Transamerica’s massive increase in the
  19   monthly deduction that is withdrawn from their accounts each month. This increase
  20   has already injured Plaintiffs and, if allowed to proceed, will continue to cause
  21   irreparable injury to Plaintiffs and other members of the putative classes
  22   (collectively “Class Members”).
  23               As further described below, Transamerica’s sudden and unilateral
  24   increase in the Monthly Deduction charges constitutes a breach of its express and
  25   implied obligations under each and every policy, a violation of the unlawful and
  26   unfair prongs of California’s Unfair Competition Law (“UCL”), and a violation of
  27   California’s Elder Abuse Statutes.
  28
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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 4 of 242 Page ID
                                 #:9575



   1                                     THE PARTIES
   2               Plaintiffs Gordon Feller and Mary Feller (collectively “Feller”) are
   3   husband and wife, and at all times herein mentioned, were citizens of the State of
   4   California. On or about September 13, 1989, Transamerica Occidental Life
   5   Insurance Company (“Transamerica Occidental”) from its Los Angeles office
   6   issued to Feller an adjustable universal life insurance policy (Policy No. 9229114)
   7   with a face amount of $500,000.
   8               Plaintiff Andrew Kriegman is a citizen of New York and trustee for
   9   the Adrienne L. Hendler Revocable Trust dated 6/4/1993 (the “Hendler Trust”),
  10   the Elizabeth Kriegman Revocable Trust dated 6/8/1993 (the “Kriegman Trust”),
  11   and the Patricia Sokolow Revocable Trust dated 6/4/1993 (the “Sokolow Trust”).
  12               These Trusts, settled by the three daughters of Harold and Shirley
  13   Leviton, own the following Transamerica universal life insurance policies each of
  14   which was issued by Transamerica Occidental from its offices located in Los
  15   Angeles, California:
  16                                      Hendler Trust
  17        Policy No. 92469810 – Face Amount $1,666,667 – Issued 3/22/1994
  18
            Policy No. 92492271 – Face Amount $1,666,667 – Issued 11/10/1994
  19
            Policy No. 92498158 – Face Amount $1,400,000 – Issued 2/15/1995
  20
  21        Policy No. 92531551 – Face Amount $3,333,333 – Issued 7/19/1996

  22                                     Kriegman Trust
  23
            Policy No. 92469811 – Face Amount $1,666,667 – Issued 3/22/1994
  24
            Policy No. 92492487 – Face Amount $1,666,667 – Issued 7/15/1994
  25
  26        Policy No. 92498153 – Face Amount $1,400,000 – Issued 2/15/1995

  27        Policy No. 92531548 – Face Amount $3,333,333 – Issued 7/19/1996

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             SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 5 of 242 Page ID
                                 #:9576



   1                                     Sokolow Trust
   2        Policy No. 92469813 – Face Amount $1,666,667 – Issued 3/22/1994
   3
            Policy No. 92492268 – Face Amount $1,666,667 – Issued 7/15/1994
   4
            Policy No. 92498155 – Face Amount $1,400,000 – Issued 2/15/1995
   5
   6        Policy No. 92531550 – Face Amount $3,333,333 – Issued 7/19/1996

   7               Plaintiff Geraldo R. Lyons ("Lyons") is an elder as defined under
   8   California law who, at all times material hereto, was and is a citizen of the State of
   9   California residing within Orange County, California. On or about August 22,
  10   1995, Transamerica Occidental, from its home office in Los Angeles, issued to
  11   Lyons, as the owner and the insured, an individual flexible premium life insurance
  12   policy insuring his life, which was later converted by him on or about June 22,
  13   2001, to a TransUltra (XL) Life Insurance Policy (Policy No. 60079202 with a face
  14   amount of $150,000.00). On or about June 23, 1996, Mr. Lyons purchased another
  15   TransUltra Life Insurance Policy (Policy No. 92531113) with a face amount of
  16   $250,000. Both of these policies were subject to the MD Increases imposed by
  17   Transamerica beginning in August 2015. As a result of the MD Increase, Mr.
  18   Lyons surrendered his policies in June 2016.
  19               Plaintiffs Donna M. White and Clarence E. White (collectively,
  20   “Whites”) are wife and husband. Both are elders and were citizens of the State of
  21   California residing within Los Angeles County, California when they purchased
  22   their Transamerica Policies. Donna M. White and Clarence E. White currently
  23   reside in Saipan, Mariana Islands, United States Territory.
  24               On or about May 12, 1980, Transamerica Occidental, from its home
  25   office in Los Angeles, issued to Clarence E. White as owner of an individual
  26   flexible premium life insurance policy insuring the life of his wife, Donna M.
  27   White, which was later converted by them on or about May 12, 1993, to a
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             SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 6 of 242 Page ID
                                 #:9577



   1   TransUltra (SM) Life Insurance Policy (Policy No. 92448993) with a face amount
   2   of $100,000.00.
   3               On or about December 18, 1981, Transamerica Occidental, from its
   4   home office in Los Angeles, issued to Donna M. White, as owner of an individual
   5   flexible premium life insurance policy insuring the life of her husband Clarence E.
   6   White, that was subsequently converted on June 15, 1993 to a TransUltra (SM)
   7   Life Insurance Policy, (Policy No. 92449566), with a face amount of $100,000.00.
   8               On or about December 19, 1981, Transamerica Occidental, from its
   9   headquarters in Los Angeles, issued to Donna M. White, as owner, a flexible
  10   premium life insurance policy insuring the life of her son Jerry Dee Nelson, which
  11   was converted on or about July 9, 1993 to a Transamerica Preferred Policyholder,
  12   Life Insurance Policy (Policy No. 92451779), with a face amount of $100,000.00.
  13               The Whites resided in Los Angeles County, California when they
  14   purchased the Policies from Transamerica Occidental. They subsequently moved
  15   to Saipan, Mariana Islands, where they now live.
  16               Plaintiff Lois Thompson is an elderly 88-year-old woman and resident
  17   of the State of California. Plaintiff Gail Thompson is the owner and beneficiary of
  18   a TransMax Survivor universal life insurance policy (Policy No. 92370232), which
  19   was issued on or about May 28, 1991 by Transamerica and has a current face value
  20   of $500,000. The insured under this policy is her mother, Lois Thompson. Gail
  21   Thompson’s policy remains in force with Transamerica and is subject to
  22   Transamerica’s monthly deduction rate increase, which was announced on or
  23   around June 2015. Gail Thompson is a 66-year-old elderly woman and resident of
  24   the State of California. Because of health issues and her advanced age, Lois
  25   Thompson lives in an assisted living facility and is no longer able to make decisions
  26   regarding her financial obligations and well-being. Pursuant to the Durable Power
  27   of Attorney and Nomination of Conservator dated February 2, 2007, Gail
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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 7 of 242 Page ID
                                 #:9578



   1   Thompson was appointed as attorney in fact for Lois Thompson with authority,
   2   inter alia, to pursue litigation on behalf of Lois Thompson. Gail Thompson
   3   accordingly asserts and is pursuing Lois Thompson’s claims against Transamerica
   4   in this litigation on behalf of Lois Thompson.
   5               Plaintiff Eric Schneck is a citizen of the State of Florida and co-trustee
   6   of the Burton I. Schneck Irrevocable Life Insurance Trust dated 2/24/1997 (the
   7   “Schneck Trust”). Plaintiff Schneck has the authority to act on behalf of the
   8   Schneck Trust. The Schneck Trust is the owner and beneficiary of an adjustable
   9   universal life insurance policy (Policy No. 000060111963) issued by Transamerica
  10   Occidental on or about October 22, 2003 with a face amount of $300,000, insuring
  11   the life of Burton I. Schneck.
  12               Defendant Transamerica is a corporation organized under Iowa law,
  13   with its principal place of business located at 4333 Edgewood Road NE, Cedar
  14   Rapids, Iowa, 52499. Transamerica is a citizen of Iowa.
  15               Transamerica Occidental was in 1989 and 1990 a corporation
  16   organized under California law, with its Home Office and principal place of
  17   business at 1150 S. Olive Street, Los Angeles, California, 90015.
  18               On or about October 1, 2008, Transamerica Occidental was merged
  19   into Transamerica, making Transamerica its successor-in-interest. Transamerica
  20   Occidental and Transamerica are collectively referred to as “Transamerica.”
  21                           JURISDICTION AND VENUE
  22               This Court has jurisdiction over the parties to this action. The six
  23   named Plaintiffs are residents of California and New York. Transamerica transacts
  24   business in California, and thousands of Class Members are California residents.
  25               Jurisdiction over Transamerica is also proper because it has registered
  26   with the California Secretary of State, purposely availed itself of the privilege of
  27   conducting business in California, and because it currently maintains systematic
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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 8 of 242 Page ID
                                 #:9579



   1       and continuous business contacts with this State.
   2                   Venue is proper in this District under 28 U.S.C. § 1391 because
   3       Transamerica maintains substantial operations in this District; thousands of Class
   4       Members either reside or did business with Transamerica in this District;
   5       Transamerica engaged in business in this District; a substantial part of the events
   6       or omissions giving rise to the claims at issue occurred in this District; and because
   7       Transamerica entered into transactions and received substantial profits from
   8       policyholders who reside in this District.
   9                   This Court has subject matter jurisdiction based on diversity of
  10       citizenship. Additionally, because this Consolidated Complaint alleges claims on
  11       behalf of a national class of policyholders who are minimally diverse from
  12       Transamerica, and because the aggregate of these claims exceed $5,000,000, this
  13       Court has subject matter jurisdiction over this case under the Class Action Fairness
  14       Act, 28 U.S.C. § 1332(d)(2). Supplemental jurisdiction over Plaintiffs’ state law
  15       claims is proper under 28 U.S.C. § 1367.
  16                                FACTUAL ALLEGATIONS2
  17                   Background on Universal Life Policies
  18                   Traditionally, life insurance companies sold two types of policies: term
  19       and whole life insurance. Term life insurance is issued for a term of years,
  20       normally building up no cash value and expiring without value. Whole life
  21       insurance provides coverage for life and provides an increasing cash value that is
  22
  23   2
         On November 8, 2016, the Court dismissed without prejudice certain claims
  24   “based on Transamerica’s alleged consideration of its interest obligations in setting
       the MDR” where the Policies at issue contain “a provision expressly permitting
  25
       Transamerica to consider ‘mortality; expenses; interest; persistency; and any
  26   applicable federal state and local taxes.’” [Doc. 160 at 18] Plaintiffs reallege any
       claims and applicable factual allegations affected by the Court’s order to preserve
  27
       their appellate rights. Lacey v. Maricopa County, 693 F.3d 896, 928 (9th Cir. 2012).
  28
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                SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 9 of 242 Page ID
                                 #:9580



   1       available when needed. The premiums remain the same throughout the life of the
   2       policy.
   3                   Universal life insurance provides more flexibility than whole or term
   4       life insurance. Premium payments, which are variable, are deposited in an
   5       accumulation account from which monthly cost of insurance and expense charges
   6       are deducted. The accumulation account is credited with monthly interest at a non-
   7       guaranteed declared rate, but not less than the guaranteed interest rate specified in
   8       the policy contract. Universal life insurance policies allow policyholders to modify
   9       the amount and frequency of premium payments as long as their policy contains
  10       sufficient cash value to cover monthly deductions.3
  11                   A graphic depicting a universal life insurance “chassis”4 is set forth
  12       below:
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
       3
      Universal Life Insurance, TRANSAMERICA,
  23
     https://www.transamerica.com/individual/products/insurance/universal-life/ (last
  24 visited on June 10, 2016).
       4
  25   Transamerica Cost Increase Causes Premium to Maturity to More Than
     Double: A Case Study for Trustees, ITM TWENTYFIRST,
  26 http://blog.itm21st.com/2015/09/09/transamerica-cost-increase-causes-premium-
  27 to-maturity-to-jump-over-200-a-case-study-for-toli-trustees/ (last visited on June
     10, 2016).
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                SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 10 of 242 Page ID
                                  #:9581



   1                    Transamerica’s Policies use the term “Monthly Deductions” to refer to
   2       the Cost of Insurance (“COI”) charge. This charge is important to universal life
   3       policyholders for at least two reasons: (1) the COI charge is typically the highest
   4       expense that a policyholder pays; and (2) the COI charge is deducted from the
   5       accumulation account (i.e., the savings component) of the policy, so the
   6       policyholder forfeits the COI charge entirely to Transamerica.
   7                    The Standardized Policy Terms
   8                    Plaintiffs bring this class action on behalf of themselves and other
   9       owners and former owners of certain universal life insurance policies issued and
  10       administered by Transamerica.5 The Policies use standardized, materially uniform
  11       language with respect to the policy provisions at issue in this action.
  12                    Under the uniform provisions of the Policies, an “accumulation
  13       account” is established for each Policy, into which the Policyholder’s premium
  14       payment(s) are deposited. The accumulation account earns interest at a declared
  15       interest rate not less than the guaranteed interest rate specified in the Policy. Certain
  16       of the Policies provide that Transamerica will pay guaranteed interest at the rate of
  17       4%, and that the accumulation value on any policy anniversary will never be less
  18       than as if 5.5% interest was credited annually from the issue date. Other policies
  19       contain similar interest rate guarantees.
  20                    At the end of each policy month, Transamerica withdraws a Monthly
  21       Deduction from the Policy’s accumulation account. The Monthly Deduction is
  22       equal to the following: (a) the application of a “Monthly Deduction Rate” to the
  23       difference between the death benefit and the accumulation value at the beginning
  24
       5
       The Policies include the so-called “TransMax” and “TransUltra” policies issued
  25
     to the Plaintiffs, as well as all other policies issued by Transamerica that share
  26 comparable terms and for which Transamerica has unilaterally increased monthly
     deductions since August 1, 2015. Specimen copies of the standardized Policy
  27
     contracts are attached as Exhibit A.
  28
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                SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 11 of 242 Page ID
                                  #:9582



   1   of the year; (b) the monthly deduction for any policy riders; and (c) a policy fee.
   2               The Monthly Deduction Rate is by far the most important component
   3   of the Monthly Deduction charge. Even small changes in the Monthly Deduction
   4   Rate can produce a dramatic increase in the dollar amount of the Monthly
   5   Deduction charged by Transamerica, particularly for elderly insureds. The higher
   6   the Monthly Deduction Rate, the greater the premiums required to maintain a
   7   positive balance in the accumulation account and avoid a lapse of the policy.
   8               Under the Policies, Transamerica determines the Monthly Deduction
   9   Rates for each policy year at the beginning of the year, using the insured’s age as
  10   of that policy year. The guaranteed Monthly Deduction Rate for non-smokers is
  11   premised on a COI portion or component, which is in turn based on projections of
  12   life span established by the 1980 CSO Mortality Tables. The guaranteed Monthly
  13   Deduction Rate for smokers is premised on the same COI rates, plus an added
  14   “expense” portion or component.
  15               Under the Policies, Transamerica’s discretion to set or increase the
  16   Monthly Deduction Rates is therefore constrained by the Tables of Guaranteed
  17   Monthly Deduction Rates and the attained age of the insured under the Policy.
  18               Furthermore, the Policies do not expressly authorize Transamerica to
  19   do any of the following:
  20          Set or increase the Monthly Deduction Rates in whatever amount or by
               whatever method it determines;
  21
  22          Set or increase Monthly Deduction Rates to recoup past losses, including
               past losses on the Policies based on changes in interest rates, policy lapse
  23           rates or other experience factors;
  24
              Set or increase Monthly Deduction Rates to recoup losses due to
  25           diminished returns on Transamerica’s general investment portfolio; and
  26
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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 12 of 242 Page ID
                                  #:9583



   1          Set or increase Monthly Deduction Rates in order to negate or offset
               Transamerica’s obligation to pay credited interest to the Policies at the
   2           minimum guaranteed rates.
   3
                   A reasonable Policyholder would construe the standardized Policy
   4
       language to mean that the Monthly Deduction Rate, which is premised on the
   5
       purported COI and the 1980 CSO Mortality Tables, would not change except for a
   6
       verifiable, material adverse change in the underlying mortality rates used to price
   7
       the Policies. As reflected in every subsequent version of the CSO Mortality Tables,
   8
       mortality rates have only improved in the years since the Policies were issued from
   9
       1987 and 1998.
  10
                   A reasonable Policyholder would also construe (1) the Policies’
  11
       provisions governing the payment of guaranteed interest on the accumulation
  12
       account, and (2) the Policies’ provisions governing the Monthly Deduction based
  13
       on Transamerica’s COI, as operating independently of one another, thereby
  14
       precluding Transamerica from offsetting or subsidizing its interest obligations
  15
       through increases in the Monthly Deduction Rate.
  16
                   In the alternative, the Policies are at a minimum ambiguous with
  17
       respect to whether Transamerica can increase the Monthly Deduction for any
  18
       reason other than an adverse change in the pricing mortality rates. As a result, any
  19
       ambiguity in this respect must be construed against Transamerica and in favor of
  20
       the Policyholder.
  21
                   Transamerica’s Massive Monthly Deduction Rate Increase
  22
  23               On June 8, 2015, Transamerica suddenly announced the MD Increase,

  24   stating that it was going to unilaterally increase the Monthly Deduction charges

  25   under the Policies by as much as 100% based on a massive increase in the Monthly

  26   Deduction Rate.

  27               Transamerica notified Policyholders of the MD Increase through a

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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 13 of 242 Page ID
                                  #:9584



   1   uniform form letter. (See Exhibit B). In the letter, Transamerica purported to
   2   explain “What’s Changing and Why.” To make it look like the MD Increase is
   3   permitted under the Policies and to create the appearance that it was acting based
   4   on the limited grounds authorized by the Policies, Transamerica said it was
   5   increasing the Monthly Deduction Rates “based on our current expectations
   6   regarding future costs of providing . . . coverage [for the Policies].”
   7               Transamerica thus acknowledged the limited grounds upon which the
   8   Policies permit a MD Increase, and represented that the MD Increase was premised
   9   on an adverse change in the COI portion of the Monthly Deduction Rate.
  10               Transamerica did not give any other explanation for the MD Increase
  11   in the notice letter, and certainly did not suggest it had the unfettered discretion to
  12   increase the Monthly Deduction Rate by whatever amount or method it chose.
  13               Transamerica began imposing the MD Increase on Policies with an
  14   anniversary date of August 1, 2015, resulting in an astronomical increase in the
  15   premiums necessary to maintain coverage under the Policies.
  16                Pursuant to the MD Increase, Transamerica has increased the amount
  17 taken from Plaintiffs’ and the putative Class members’ accumulation accounts upon
  18 their respective Policy’s anniversary dates. For example, beginning September 13,
  19 2015, the Fellers suffered an approximately 38% increase in their Monthly
  20 Deduction Rates, raising the Monthly Deduction from approximately $1,500 to
  21 more than $2,000 in order to maintain the same death benefit for their Policy.
  22 Transamerica increased Thompson’s Monthly Deduction by 21%, beginning in
  23 May 2016.        As a further example, Transamerica imposed an increase of
  24 approximately 100% upon Lyons commencing June 22, 2016. Similarly,
  25 Transamerica increased the monthly deduction of the Schneck Trust by 100%,
  26 beginning in October 2016.
  27               Plaintiffs and Class Members are now required to pay much higher
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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 14 of 242 Page ID
                                  #:9585



   1   Monthly Deductions to maintain the same level of coverage under the Policies,
   2   such that their Policies will become cost-prohibitive if the MD Increase is not
   3   enjoined. Unless stopped, Transamerica will induce policyholders to surrender
   4   their Policies for the current cash value. These widespread terminations – known
   5   as “shock lapses” – will in turn benefit Transamerica because it will not have to
   6   pay out the death benefits on Policies for which Plaintiffs and Class Members have
   7   duly paid the premiums for decades.
   8               The True Reasons for the MD Rate Increase
   9               The sudden and dramatic MD Increase is not truly based on adverse
  10   changes in the “cost of providing coverage” as Transamerica represented in its
  11   notice letter to the Policyholders, but rather on Transamerica’s desire to avoid its
  12   contractual obligation to meet the high interest crediting rates it promised under
  13   the Policies and to recoup past losses, including the cost of paying out the
  14   guaranteed interest rates.
  15               1.     The Genesis of Transamerica’s Self-Inflicted Losses
  16               As alleged above, over the last 20 to 30 years, Transamerica has
  17   collected premiums from policyholders premised on Monthly Deduction Rates
  18   expressly tied to mortality-based cost of insurance charges. Transamerica now
  19   seeks to impose the draconian MD Increase to impermissibly recoup past and
  20   emerging losses even though mortality has only improved over the years.
  21               Insurance carriers must reserve assets for the payment liabilities on the
  22   policies they issue. Typically, as much as 80% of an insurance carrier’s assets are
  23   held in corporate bonds which support the reserves required to back its contractual
  24   obligations to policyholders. At the time the Policies were issued, interest rates
  25   were at historically high levels. As interest rates started to trend downwards
  26   beginning in the early 2000s, the bonds acquired by Transamerica in earlier years
  27   increased in value. However, Transamerica could not sell the bonds supporting its
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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 15 of 242 Page ID
                                  #:9586



   1   policy reserves and realize the associated gains unless the underlying policy
   2   liabilities were released, which occurs when policies are surrendered or lapse.
   3   Transamerica’s reserves included those backing the Policies, thereby ensuring that
   4   Transamerica has sufficient future profits to pay its obligations to Plaintiffs and the
   5   Class Members as those obligations become due.
   6               Transamerica’s ultimate parent is AEGON NV (“AEGON”) a publicly
   7   traded Netherlands-based corporation. Because the Policies and other interest-
   8   sensitive insurance products sold by Transamerica were not lapsing quickly
   9   enough to allow the company to release reserves and free up enough capital to
  10   satisfy AEGON’s demand for cash-flows, Transamerica engineered a series of
  11   captive reinsurance transactions premised on representations to regulators and the
  12   public that it was holding reserves that were more than sufficient to cover its
  13   liabilities, including its obligations under the Policies, based on existing and
  14   anticipated future Monthly Deduction charges and related expenses. Through such
  15   “shadow insurance” transactions, Transamerica purported to transfer the risks
  16   associated with the Policies and other interest-sensitive products to wholly owned
  17   captive reinsurance affiliates, thereby claiming a “reserve credit” allowing the
  18   company to release the purportedly redundant reserves into its reported surplus,
  19   which it then used to pay dividends to AEGON.
  20               For example, in 2010, Transamerica reported that it had taken reserve
  21   credits as a result of reinsurance transactions with affiliated reinsurance companies
  22   totalling approximately $30 billion.       Transamerica purported to justify these
  23   transactions based on its assertion that that Transamerica had ample remaining
  24   reserves to cover its liabilities, including its obligations under the Policies. In 2010
  25   alone, Transamerica and other affiliated insurance operating companies
  26   upstreamed dividends to AEGON totalling $2.3 billion.
  27               By releasing the reserves through captive reinsurance transactions in
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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 16 of 242 Page ID
                                  #:9587



   1   order to upstream billions of dollars to its parent, Transamerica weakened its policy
   2   reserves, diverted its cash flows to pay parental dividends and depleted its capital,
   3   thereby self-inflicting near-term losses that it would later seek to recoup through
   4   the MD Increase. By depleting its capital surplus to benefit its foreign parent at the
   5   expense of its policyholders, Transamerica knowingly increased the potential
   6   adverse impact of losses stemming from the Policies’ high interest rate guarantees
   7   and other financial reversals. Even though Transamerica assumed those risks by
   8   entering into the Policy contracts containing high guaranteed interest rates and
   9   provisions prohibiting Transamerica from recouping losses through Monthly
  10   Deduction increases, Transamerica nevertheless imposed the MD Increase in
  11   contravention of its contractual obligations to the policyholders.
  12               2.     Transamerica Imposes the MD Increase to Recoup Losses
                          Resulting from its Captive Reinsurance Transactions and
  13
                          the Great Recession
  14               As alleged above, interest rates have declined over the last 15 years,
  15   falling to historic lows in the wake of the Great Recession. Although these steadily
  16   declining interest rates, which fell sharply during the Great Recession, have
  17   adversely impacted insurers generally, they have had extremely adverse
  18   consequences for the profitability of products, like the Policies issued by
  19   Transamerica, which have high guaranteed interest rates.
  20                In the late 1980s, when many of the Policies were issued, the 10-year
  21   Treasury rate was around 9%. Throughout the 1990s the 10-year Treasury moved
  22   steadily downward, remaining at or above 5% until the post-2001 recession period
  23   when it pierced the 4% level for some months. Between 2003 and 2008 it
  24   fluctuated generally between 4% and 5%. Since mid-2008, however, the 10-year
  25   Treasury has been under 4%, hitting a low of 1.65% in 2012.
  26               In April 2012, the Center for Insurance Policy & Research (“CIPR”)
  27   branch of the National Association of Insurance Commissioners published a report
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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 17 of 242 Page ID
                                  #:9588



   1   describing the effect on insurers of what was, even then, a prolonged period of low
   2   level interest rates. (See Exhibit C.) The CIPR Report warned:
   3        Life insurance companies face considerable interest rate risk given
   4        their investments in fixed-income securities and their unique liabilities.
            For life insurance companies, their assets and liabilities are heavily
   5        exposed to interest rate movements. Interest rate risk can materialize
   6        in various ways, impacting life insurers’ earnings, capital and reserves,
            liquidity and competitiveness. Moreover, the impact of a low interest
   7        rate environment depends on the level and type of guarantees offered.
   8        Much of the business currently on life insurers’ books could be
            vulnerable to a sustained low interest rate environment ….
   9
            Life insurers typically derive their profits from the spread between
  10        their portfolio earnings and what they credit as interest on insurance
  11        policies. During times of persistent low interest rates, life insurers’
            income from investments might be insufficient to meet contractually
  12        guaranteed obligations to policyholders which cannot be lowered. ***
  13        In a low interest rate environment, it is challenging to find relatively
  14        low-risk, high-yield, long-duration assets to match annuities that
            guarantee a minimum annual return (e.g., 4%). For many policies, low
  15        interest rates mean that some mismatch with assets is likely. For
  16        example, older fixed income insurance products that guarantee rates of
            around 6%—closely matching or conceivably even surpassing current
  17        investment portfolio yields—are likely to put a strain on life insurers
  18        as a result of spread compression or possibly negative interest margins.

  19 CIPR Report, at 2-3.
  20               The low interest rate environment has persisted since 2012,
  21   exacerbating the spread compression and thus, as explained by the CIPR,
  22   undermined the profitability of policies with “guarantee rates around 6%.”
  23               A recent report by actuary and Consumer Federation of America’s
  24   James H. Hunt described how today’s “climate of low interest rates” would impact
  25
  26
  27
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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 18 of 242 Page ID
                                  #:9589



   1       insurers.6 For more than 30 years Hunt has evaluated life insurance policies. His
   2       report prophetically warned:
   3            While there has been occasional COI increases in the past, and there
                has been litigation on the issue, CFA is concerned that the actions
   4
                taken may spread throughout the life insurance business . . . . We are
   5            concerned that COI rate increases will, in effect, void the interest rate
                guarantees in affected contracts The question is: Are these insurers in
   6
                a climate of low interest rates using COI increases to maintain profits
   7            when the interest rates they have been crediting to cash values have
                been reduced to the contractually guaranteed rates, often 4%,
   8
                sometimes higher?
   9
       Id. at 1.
  10
                       As Hunt predicted, the low interest rate environment undermined the
  11
           profitability of policies with guaranteed rates at 4% or more, and in turn
  12
           Transamerica is “using COI increases to maintain profits.”
  13
                       In fact, Transamerica’s investment returns have been very low since
  14
           2007, and are nowhere near the returns needed to support continued interest credit
  15
           to the policies’ cash values at the guaranteed 4% rate. Through the MD Increase,
  16
           Transamerica is seeking to offset or subsidize its credited interest guarantees
  17
           through dramatic increases in the charges taken from the policyholders’ cash value.
  18
           Transamerica also is seeking to recoup past losses through the MD Increase.
  19
                       In short, through the sudden and massive MD Increase, Transamerica
  20
           is attempting to avoid its obligation to credit the guaranteed interest rates under the
  21
           policies by impermissibly recouping its past losses — thereby denying
  22
           policyholders their contractual benefits under the policies. Through the MD
  23
           Increase, Transamerica is attempting to offset or subsidize its credited interest
  24
  25   6
      See Life Insurance Regulators Should Block Cost of Insurance Rate Increases
  26 When Used to Avoid Guaranteed Interest Rates in Universal Life Policies, James
     Hunt, found at http://www.consumerfed.org/pdfs/160121_CFACOIs_report.pdf.
  27
     (Last checked June 10, 2016).
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                SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 19 of 242 Page ID
                                  #:9590



   1       guarantees
   2                    For the foregoing reasons, Transamerica’s stated reason in its notice
   3       letters for the MD Increase was false. As one industry commentator has put it,
   4       Transamerica is “trying to claim that mortality charges are the culprit even though
   5       you would have to be snoozing pretty heavily not to know that people are living
   6       way longer than they were 15 to 20 years ago.”7
   7                    Because non-guaranteed elements such as the Monthly Deduction
   8       Rate are required to reflect expectations of future experience, Transamerica is
   9       precluded from re-determining those elements to recoup past losses, including past
  10       losses attributable to the Policies. The Policies contain contractual provisions
  11       prohibiting Transamerica from increasing the Monthly Deductions to recoup past
  12       losses. Additionally, any attempt to do so would violate the actuarial standards of
  13       practice, the code of professional ethics, and regulatory constraints.
  14                    3.    The MD Increase is Not Justified by Adverse Anticipated
                              Experience Factors Relating to the Cost of Insurance
  15
                        The MD Increase is not justified by adverse mortality or any other
  16
       deterioration in anticipated experience factors relating to the cost of insurance,
  17
       which is the only permissible basis for changes in the Monthly Deduction Rates
  18
       under the Policies. The Monthly Deduction Rate, which Transamerica has set at a
  19
       level less than the Guaranteed Monthly Deduction Rate, is considered a
  20
       “nonguaranteed element” of the Policy. Insurance companies and their actuaries are
  21
       required to file with their state regulators answers to interrogatories every year as
  22
       to whether their “anticipated experience factors underlying any nonguaranteed
  23
       elements [are] different from current experience.”
  24
  25
       7
  26  Ed Hinerman, Transamerica Life Drops a Big One in the Punch Bowl!, Hinerman
     Group, http://www.hinermangroup.com/blog/insurance/transamerica-life-drops-a-
  27
     big-one-in-the-punch-bowl (last checked June 10, 2016).
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                SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 20 of 242 Page ID
                                  #:9591



   1               In Transamerica’s Statement of Nonguaranteed Elements, as recently
   2 December 31, 2014, Transamerica expressed no indication of any need to increase
   3 the Monthly Deduction Rates due to any adverse change in mortality rates or any
   4 other anticipated experience factors. (See Exhibit D.)
   5               Indeed, for each of the past four years, Transamerica consistently
   6 reported to regulators that the anticipated experience factors underlying its
   7 nonguaranteed elements were no different from current experience. (See Statement
   8 of Nonguaranteed Elements as of December 31, 2013 (attached as Exhibit E);
   9 Statement of Nonguaranteed Elements as of December 31, 2012 (attached as
  10 Exhibit F); Statement of Nonguaranteed Elements as of December 31, 2011
  11 (attached as Exhibit G).
  12               Tellingly, Transamerica qualified its Statement of Nonguaranteed
  13 Elements to “include[] only those elements over which the company … may by
  14 policy provisions exercise some current or future level of discretionary control,”
  15 while excluding from its statement “interest sensitive … contracts [that] contain
  16 minimum interest rate … guarantees … which the company must, as a matter of
  17 contract law, not violate.” Id. Transamerica also disclaimed any ability to predict
  18 anticipated investment experience. By doing so, Transamerica avoided disclosing
  19 that the high interest rates guaranteed in the Policies were not supported by current
  20 experience and, in fact, had contributed to losses that Transamerica improperly now
  21 seeks to recoup through the MD Increase.
  22               Insurance company actuaries are required to closely monitor and report
  23 on COI trends affecting non-guaranteed elements of its insurance policies. Material
  24 deviations between current and expected future expectations as to COI do not occur
  25 overnight; they are gradual trends for which actuaries can and do make incremental
  26 adjustments. As a consequence, it is inconceivable that the MD Increase (as high as
  27 100%) is attributable to changes in current or anticipated experience factors relating
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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 21 of 242 Page ID
                                  #:9592



   1 to the cost of providing insurance that emerged in a single year during 2015.
   2               4.    Transamerica Seeks to Inflict Massive Shock Lapses
                         Through the MD Increase
   3
                   As alleged above, Transamerica has saddled Plaintiffs and other Class
   4
       Members with the onerous MD Increase not because of any adverse mortality
   5
       experience or other legitimate COI factors but, instead, to defray its contractual
   6
       obligations to pay guaranteed interest under the Policies and to recoup losses
   7
       stemming from Transamerica’s own actions—i.e. arranging captive reinsurance
   8
       transactions to release policy reserves for the purpose of upstreaming billions of
   9
       dollars in dividends to AEGON. In an unconscionable disregard of the rights and
  10
       interests of its—mostly elderly—policyholders, Transamerica effectively
  11
       plundered the policy reserves established to protect those policyholders, only to
  12
       turn around and demand that the policyholders themselves restore the profitability
  13
       of the Policies to Transamerica by paying increased Monthly Deductions.
  14
                   Transamerica’s true motive behind the MD Increase -- to benefit its
  15
       ultimate parent, AEGON, at the expense of its policyholders—is further reflected
  16
       in the timing of the MD Increase. As a Netherlands-based holding company,
  17
       AEGON is subject to the capital adequacy requirements of the European Union,
  18
       known as “Solvency II”. On Friday, June 12, 2015, the European Commission
  19
       issued a decision permitting AEGON and other European based insurance
  20
       companies to include the capital of their foreign subsidiaries in determining their
  21
       own risk-based capital under the operative capital adequacy requirements. This
  22
       decision thus allowed AEGON to include the earnings and capital of Transamerica
  23
       to satisfy its own risk-based capital requirements. Transamerica announced the
  24
       MD Increase on Monday, June 15, 2015, the very next business day after the
  25
       European Commission’s decision.
  26
                   The MD Increase, which was implemented to recoup Transamerica’s
  27
  28
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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 22 of 242 Page ID
                                  #:9593



   1   past losses and increase its overall profitability, was therefore calculated to benefit
   2   AEGON by allowing AEGON to include the resulting profits in order to help
   3   satisfy its own minimum risk-based capital requirements under the European
   4   Union capital adequacy regime. Indeed, according to an equity research report by
   5   RBC Capital Markets dated August 18, 2015, AEGON is now entirely dependent
   6   on the cash flow generated by Transamerica (including the cash flows resulting
   7   from the MD Increase) to cover AEGON’s dividends and expenses. Furthermore,
   8   AEGON’s ability to continue dividends at their current level would be jeopardized
   9   if Transamerica were required to re-establish the reserves that were released as part
  10   of the captive reinsurance transactions described in Paragraphs 46-49 above. See
  11   attached Exhibit H.
  12               Unless enjoined, the MD Increase virtually assures that Transamerica
  13   will achieve its goal of recouping past losses to make the Policies collectively more
  14   profitable. To the extent policyholders agree to pay the increased charges resulting
  15   from the MD Increase, Transamerica will avoid its losses and reap profits. To the
  16   extent policyholders decide or are forced to surrender their Policies as a result of
  17   the MD Increase, Transamerica will wipe the unprofitable Policies from its books.
  18   Transamerica knows, and fully expects, that the massive MD Increase will cause
  19   thousands of Class Members to surrender their Policies and cause thousands of
  20   other Policies to lapse as the increased Monthly Deduction charges exhaust the
  21   funds in the Policies’ accumulation accounts. Indeed, Transamerica has acted
  22   intentionally to provoke Policy surrenders in an effort to wipe from its books life
  23   insurance policies that Transamerica has by its own conduct rendered unprofitable.
  24               The likelihood of a surrender or lapse increases dramatically when
  25   there is an increase in Monthly Deduction Rates, and the policyholder must decide
  26   whether he or she can afford to maintain the policy, especially when the
  27   information supplied to the policyholder is deliberately designed to provoke
  28
                                                21
            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 23 of 242 Page ID
                                  #:9594



   1   surrender or lapse.
   2               Transamerica has actively sought to encourage and provoke Plaintiffs
   3   and Class Members to terminate their Policies or reduce the face amount of
   4   coverage enough to allow Transamerica to collect the increased monthly deduction
   5   charges. In its form letters announcing the MD Increase, Transamerica suggested
   6   as the first option that policyholders “may choose to surrender your policy for the
   7   cash value…You can take this in cash or you may be able to exchange it for another
   8   life insurance policy that accumulates cash value.” Exhibit B. Transamerica also
   9   suggested an alternative “Reduced Face Amount Option,” which would drastically
  10   reduce the insurance coverage while still allowing Transamerica to pocket the
  11   increased Monthly Deductions as long as the Policy remained in force. Id.
  12               Transamerica also has created obstacles that preclude policyholders
  13   from obtaining the information they need to evaluate their options. For instance,
  14   Transamerica systematically directs policyholders to speak with its “customer
  15   service” representatives or its “Product Specialist Team” to obtain information and
  16   answers to questions about the MD Increase. Policyholders often must make
  17   multiple calls or remain on hold for extended periods of time to ring through to the
  18   Transamerica representatives. Moreover, the center is staffed by representatives
  19   who lack sufficient training or information to provide meaningful guidance to
  20   policyholders. Policyholders are often given confusing or conflicting answers to
  21   their questions, or presented with alarming doomsday scenarios intended to
  22   encourage surrenders or lapses.
  23               In addition, Transamerica is now refusing to provide policyholders
  24   with illustrations showing how their Policies will perform as a result of the MD
  25   Increase. Instead, Transamerica will now only provide policy illustrations
  26   depicting how the Policies would perform if the Monthly Deduction Rates were
  27   raised to a level even higher than the rates imposed by the MD Increase. These
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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 24 of 242 Page ID
                                  #:9595



   1   illustrations depict the most pessimistic scenario possible, suggesting showing —
   2   that the Policies will terminate far sooner than they will as a result of the MD
   3   Increase would be the case under current assumptions. By doing so, Transamerica
   4   hopes to induce elderly policyholders to surrender their Policies.
   5               5.     Transamerica’s Unconscionable Conduct Must Be
                          Enjoined
   6
                   In short, through the sudden and massive MD Increase, Transamerica
   7
       is attempting to avoid its obligation to credit the guaranteed interest rates under the
   8
       Policies, recoup past losses, and shed the Policies by making the premiums to
   9
       maintain    them    cost-prohibitive    for   Policyholders,    thereby    frustrating
  10
       Policyholders’ ability to receive their contractual benefits under the Policies.
  11
                   The Class Members hardest hit by Transamerica’s unconscionable
  12
       business practice are elderly Policyholders who have dutifully paid premiums for
  13
       20 years or more based on the expectation that in their twilight years the Policies
  14
       would provide protection for their families. Due to age-related underwriting
  15
       considerations, life insurance protection for these elderly policyholders is now
  16
       either unavailable or prohibitively expensive. Compounding this situation is the
  17
       fact that these policies do not contain an “extension of maturity option” which
  18
       would provide coverage past age 100. Therefore, it is possible that the insured may
  19
       outlive the policy and will have paid increased premiums without a way to recover
  20
       the additional costs. Transamerica’s actions have thus stripped Plaintiffs and the
  21
       Class of any future life insurance protection.
  22
                   Transamerica’s attempt to deprive Plaintiffs and Class Members of the
  23
       primary benefit of their Policies—paid for through years of contributions to the
  24
       accumulation account—violates Transamerica’s express and implied obligations
  25
       under the Policies, constitutes “unlawful” and “unfair” conduct under the UCL,
  26
       and statutory elder abuse in the case of Thompson, Lyons and other Policyholders
  27
  28
                                                23
            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 25 of 242 Page ID
                                  #:9596



   1   aged 65 years or older.
   2               The vast majority of Transamerica policyholders affected by this
   3   increased COI are elderly; many are now in their mid-to-late 80s and 90s and
   4   purchased a policy in the 1990s when they were in their 60s or 70s. These
   5   policyholders have faithfully paid the scheduled premiums for years and have
   6   accumulated significant cash value in the policies. Due to their advanced age, these
   7   individuals cannot obtain alternative life insurance coverage and will lose the cash
   8   value of the policy if they cannot pay the increased costs to maintain the policy.
   9               Transamerica for many years and as recently as late 2015, supplied
  10   policyholders with illustrations and other information using existing COI rates that
  11   provided no hint of any impending change in those rates. Current policyholders
  12   thus had no way of knowing or expecting that this dramatic increase in the Monthly
  13   Deduction Rates would happen after almost twenty years of stable premiums.
  14               These elderly policyholders, who are effectively uninsurable due to
  15   their advanced ages, face the prospect of: (1) surrendering their policies and losing
  16   their death benefits at an age when purchasing other life insurance coverage is
  17   practically impossible; (2) permitting Transamerica to deplete their policy values
  18   through its “cost of insurance” increases until there is nothing left and the policy
  19   “shock lapses”; (3) paying vastly increased premiums with no assurance the cost
  20   of insurance will not continue to increase; or (4) accepting cuts in death benefits.
  21               As a result of Transamerica’s actions, thousands of class members are
  22   faced with the difficult decision of either paying the exorbitant and unjustified new
  23   charges, or forever forgoing the life insurance benefits for which they have
  24   dutifully paid premiums for many years.
  25               Plaintiffs therefore seek immediate preliminary injunctive and
  26   equitable relief to preserve the status quo pendente lite by enjoining the MD
  27   Increase. Unless Transamerica is enjoined, Policyholders will be irreparably
  28
                                               24
            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 26 of 242 Page ID
                                  #:9597



   1   damaged and Transamerica will succeed with its plan to cause mass cancellations
   2   of the Policies—leaving tens of thousands of Policyholders without coverage based
   3   on an unlawful, unfair and abusive MD Increase. Plaintiffs also seek permanent
   4   declaratory and injunctive relief requiring Transamerica to (i) reverse the unlawful
   5   increase in Monthly Deductions charged on the Policies, and (ii) reinstate all
   6   Policies that were surrendered or lapsed as a result of the MD Increase. Plaintiffs
   7   also seek ancillary damages flowing directly from Transamerica’s unlawful
   8   conduct.
   9                         CLASS ACTION ALLEGATIONS
  10               This action is brought by Plaintiffs individually and on behalf of the
  11   five subclasses described below (the “Classes”) pursuant to Rule 23, subdivisions
  12   (a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure.
  13               Plaintiffs seek certification of the following subclasses:
  14                      California Subclass I: Current Policyholders
  15               All California residents who own an in-force Policy for which
                   the Monthly Deduction increase imposed by Transamerica
  16               beginning August 1, 2015, has resulted or will result in higher
  17               Monthly Deduction charges than those applicable under the rate
                   schedule in effect before that date.
  18
                          California Subclass II: Surrendered Policyholders
  19
                   All California residents who previously owned and seek to
  20               reinstate a Policy: (i) for which the Monthly Deduction increase
  21               imposed by Transamerica beginning August 1, 2015, resulted or
                   threatened to result in higher Monthly Deduction charges than
  22               those applicable under the rate schedule in effect before that
  23               date; and (ii) that terminated after that date.

  24                      California Subclass III: Senior Policyholders
                    All California residents who were 65 years old or older and
  25
                    owned a Policy for which the Monthly Deduction increase
  26                imposed by Transamerica beginning August 1, 2015, has
                    resulted or will result in higher Monthly Deduction charges
  27
  28
                                               25
            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 27 of 242 Page ID
                                  #:9598



   1                than those applicable under the rate schedule in effect before
                    that date.
   2
                          National Subclass I: Current Policyholders
   3               All persons, other than California residents, who own a Policy
   4               for which the Monthly Deduction increase imposed by
                   Transamerica beginning August 1, 2015, has resulted or will
   5               result in higher Monthly Deduction charges than those
   6               applicable under the rate schedule in effect before that date.
   7                      National Subclass II: Surrendered Policyholders
   8               All persons, other than California residents, who previously
                   owned and seek to reinstate a Policy: (i) for which the Monthly
   9               Deduction increase imposed by Transamerica beginning August
  10               1, 2015, resulted or threatened to result in higher Monthly
                   Deduction charges than those applicable under the rate schedule
  11               in effect before that date; and (ii) that terminated after that date.
  12
                   There are thousands of members of each of the Subclasses described
  13
       in the foregoing paragraph. Accordingly, the Class consists of thousands of
  14
       Transamerica policyholders and is thus so numerous that joinder of all members is
  15
       impracticable. The identities and addresses of the members of these Subclasses
  16
       can be readily ascertained from business records maintained by Transamerica.
  17
                   The claims asserted by Plaintiffs are typical of the claims of the Class
  18
       Members.
  19
                   Plaintiffs are willing and prepared to serve the Court and the proposed
  20
       Class in a representative capacity. Plaintiffs will fairly and adequately protect the
  21
       interests of the Class and have no interests that are adverse to, or which materially
  22
       and irreconcilably conflict with, the interests of the other members of the Class.
  23
                   The self-interests of Plaintiffs are co-extensive with and not
  24
       antagonistic to those of absent Class members. Plaintiffs will undertake to
  25
       represent and protect the interests of absent Class members.
  26
                   Plaintiffs have engaged the services of counsel indicated below who
  27
       are experienced in complex class litigation and life insurance matters, will
  28
                                                26
            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 28 of 242 Page ID
                                  #:9599



   1   adequately prosecute this action, and will assert and protect the rights of and
   2   otherwise represent Plaintiffs and the putative Class members.
   3                Rule 23 (b)(2)
   4                This action is appropriate as a class action pursuant to Rule 23 (b)(2).
   5   Plaintiffs seek injunctive relief and corresponding declaratory relief for each of the
   6   Classes. Transamerica has acted in a manner generally applicable to each member
   7   of the Classes by imposing the MD Rate Increase on all Policies owned by Class
   8   members.
   9                Transamerica’s unlawful MD Increase, if not enjoined, will subject
  10   Plaintiffs and Class Members to enormous continuing future harm and will cause
  11   irreparable injuries to such Policyholders, who are compelled to surrender valuable
  12   life insurance policies with no economically viable option for alternative life
  13   insurance. The adverse financial impact of Transamerica’s unlawful actions is
  14   continuing and, unless preliminarily and permanently enjoined, will continue to
  15   irreparably injure Plaintiffs and Class Members.
  16                Rule 23 (b)(3)
  17
                    This action is also appropriate as a class action pursuant to Federal
  18
       Rule of Civil Procedure 23 (b)(3).
  19
                    Common questions of law and fact predominate over any
  20
       individualized questions. Common legal and factual questions include the
  21
       following:
  22                a.    Whether Transamerica’s large and sudden increase in the s
  23                      Monthly Deduction Rates is authorized under the terms of the
                          Policies;
  24
                    b.    Whether Transamerica breached its contractual obligations
  25                      owed to Plaintiffs and Class Members;
  26
                    c.    Whether Transamerica breached its implied duty of good faith
  27                      and fair dealing owed to Plaintiffs and Class Members;
  28
                                                27
            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 29 of 242 Page ID
                                  #:9600



   1               d.     Whether Transamerica has engaged in unfair or unlawful
                          business practices in its dealings with Plaintiffs and Class
   2                      Members;
   3               e.     Whether Transamerica has engaged in the financial abuse of
   4                      elders within the meaning of California’s Elder Abuse Statute;
   5               f.     Whether Plaintiffs and Class Members have been damaged, and
   6                      if so, are eligible for and entitled to compensatory and punitive
                          damages;
   7
                   g.     Whether Plaintiffs and Class Members are entitled to
   8                      declaratory relief; and
   9
                   h.     Whether Plaintiffs and Class Members are entitled to
  10                      preliminary and permanent injunctive relief, or other equitable
  11                      relief, against Transamerica.

  12               A class action is superior to other available methods for the fair and
  13   efficient adjudication of this controversy, for the following reasons:
  14
                   a.     Given the age of Class Members, many of whom are elderly and
  15                      have limited resources, the complexity of the issues involved in
  16                      this action and the expense of litigating the claims, few, if any,
                          Class Members could afford to seek legal redress individually
  17                      for the wrongs that Transamerica has committed against them,
  18                      and absent Class Members have no substantial interest in
                          individually controlling the prosecution of individual actions;
  19
                   b.     Once Transamerica’s liability has been adjudicated respecting
  20
                          the Monthly Deduction Rate Increase, claims of all Class
  21                      Members can be determined by the Court;
  22               c.     This action will ensure an orderly and expeditious
  23                      administration of the Class’s claims and foster economies of
                          time, effort, and expense, and ensure uniformity of decisions
  24                      and compliance by Transamerica with the Policies;
  25
                   d.     Without a class action, many Class Members would continue to
  26                      suffer injury, and Transamerica’s violations of law will continue
                          without redress while it continues to reap and retain the
  27
                          substantial proceeds and reductions in its future liabilities
  28
                                               28
            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 30 of 242 Page ID
                                  #:9601



   1                      derived from its wrongful conduct; and

   2               e.     This action does not present any undue difficulties that would
                          impede its management by the Court as a class action.
   3
   4               A class action is superior to other available means for the fair and
   5   efficient adjudication of this controversy. The injuries suffered by individual Class
   6   Members are, though important to them, relatively small compared to the burden
   7   and expense of individual prosecution needed to address Transamerica’s conduct.
   8   Individualized litigation presents a potential for inconsistent or contradictory
   9   judgments. In contrast, a class action presents far fewer management difficulties;
  10   allows the hearing of claims that might otherwise go unaddressed; and provides
  11   the benefits of single adjudication, economies of scale, and comprehensive
  12   supervision by a single court.
  13                                FIRST CAUSE OF ACTION
  14    (Breach of Contract – All Plaintiffs on behalf of the National Classes and the
        Feller, Thompson and Lyons Plaintiffs on behalf of the California Subclasses)
  15
  16               Plaintiffs refer to the prior paragraphs of this Complaint and
  17   incorporate those paragraphs as though set forth in full in this cause of action.
  18               The Policies are valid, enforceable contracts between Plaintiffs and
  19   Class Members and Transamerica.
  20               At all relevant times, Plaintiffs and Class Members have paid
  21   premiums to Transamerica through Monthly Deduction charges established at the
  22   inception of the Policies, and have otherwise performed all their obligations under
  23   the Policies.
  24               As alleged above, Transamerica owed duties and obligations to
  25   Plaintiffs and Class Members under the Policies including, but not limited to,
  26   refraining from imposing Monthly Deduction charges except as authorized under
  27   the terms of the Policies.
  28
                                               29
            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 31 of 242 Page ID
                                  #:9602



   1                Through the MD Increase, Transamerica has materially breached the
   2   terms and provisions of the Policies for reasons not permitted under the Policies;
   3   that is, in order to reduce its credited interest obligations to Plaintiffs and the Class
   4   and to recoup past losses, by dramatically depleting the Policyholders’
   5   accumulation accounts and forcing mass lapses and surrenders of Policies.
   6                At a minimum, the MD Increase is of such a magnitude that, even if
   7   legitimate COI increases were a factor, Transamerica necessarily considered
   8   impermissible factors other than the COI in setting the level of the MD Increase.
   9                Transamerica’s conduct and material breaches of the Policies have
  10   proximately caused damage to Plaintiffs and the Class Members in an amount to
  11   be determined at trial.
  12                In addition, unless Transamerica is preliminarily and permanently
  13   enjoined from continuing to deduct the unlawfully increased Monthly Deduction
  14   charges, Plaintiffs and the Class Members will suffer severe and irreparable
  15   injuries for which they have no adequate remedy at law.
  16                               SECOND CAUSE OF ACTION
  17      (Contract Breach of the Implied Covenant of Good Faith and Fair Dealing
            – the Feller, Thompson and Lyons Plaintiffs on behalf of the California
  18
                                         Subclasses)
  19                Plaintiffs refer to the prior paragraphs of this Complaint and
  20   incorporate those paragraphs as though set forth in full in this cause of action.
  21                The Policies are valid, enforceable contracts between Transamerica
  22   and Plaintiffs or the Class Members.
  23                Implied in each Policy is a contractual covenant of good faith and fair
  24   dealing through which Transamerica owed Plaintiffs and Class Members a duty to
  25   act in good faith and deal fairly, and in a manner that did not frustrate their
  26   reasonable expectations under the Policies.
  27                Transamerica contractually breached the covenant of good faith and
  28
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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 32 of 242 Page ID
                                  #:9603



   1   fair dealing because, to the extent Transamerica had the discretion to increase the
   2   Monthly Deduction, that discretion was sufficiently constrained under the terms of
   3   Policies to support an implied obligation of good faith and fair dealing with respect
   4   to the MD Rate Increase.
   5               Transamerica exercised its discretion under the Policies in bad faith
   6   and breached the implied covenant of good faith and fair dealing by, among other
   7   things:
   8               a.     Exercising its discretion to increase the Monthly Deductions to
                          recoup past losses;
   9
  10               b.     Misrepresenting to Plaintiff and Class members the reasons for
                          the MD Rate Increase;
  11
  12               c.     Intending for the MD Rate Increase to force Plaintiffs and Class
                          members to surrender their policies so Transamerica would not
  13
                          have to pay the death benefits; and
  14
                   d.     Negating the value of what were intended to be guaranteed
  15                      interest rates, which Transamerica has no right to do.
  16
                    Transamerica’s contractual breach of the covenant of good faith and
  17
       fair dealing has proximately caused damage to Plaintiffs and the Class Members in
  18
       an amount to be determined at the time of trial.
  19
                   In addition, unless Transamerica is preliminarily and permanently
  20
       enjoined from continuing to deduct the unlawfully increased Monthly Deduction
  21
       charges, Plaintiffs and Class Members will suffer severe and irreparable injuries
  22
       for which they have no adequate remedy at law.
  23
                                   THIRD CAUSE OF ACTION
  24
                 (Tortious Breach of the Duty of Good Faith and Fair Dealing
  25    –Feller, Thompson and Lyons Plaintiffs on behalf of the California Subclasses)
  26
                   Plaintiffs refer to the prior paragraphs of this Complaint and
  27
       incorporate those paragraphs as though set forth in full in this cause of action.
  28
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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 33 of 242 Page ID
                                  #:9604



   1               The Policies are valid, enforceable contracts between Transamerica
   2   and Plaintiffs or the Class Members.
   3               Life insurance policies, like those owned by Plaintiffs and the Class
   4   Members, protect them from the economic harm and risk presented by death. As
   5   is the case with most insurance contracts, Transamerica and the Policyholders’
   6   financial interests are directly at odds: Transamerica benefits from increasing the
   7   charges to Policyholders and the Policyholders are harmed by such increases. As
   8   explained above, Transamerica benefits if Plaintiffs and Class Members forfeit the
   9   Policies because it will have obtained premium payments without having to pay
  10   death benefits or the promised credited interest rates.
  11               For these reasons, Transamerica owes Plaintiffs and Class Members a
  12   heightened duty of good faith and fair dealing. Among other things, Transamerica
  13   must refrain from doing anything to injure Policyholders’ right to receive the
  14   benefits of the Policies.    Transamerica is required to give at least as much
  15   consideration to the welfare of the Policyholders as it gives to its own interests.
  16   Furthermore, Transamerica has a duty to reasonably inform Plaintiffs and the Class
  17   Members of their rights and obligations under the Policies.
  18               As alleged above, Transamerica has breached these duties in
  19   connection with the MD Increase, thereby frustrating the reasonable expectations
  20   of Plaintiffs and the Class Members and tortiously depriving them of benefits under
  21   the Policies. In increasing the Monthly Deduction, Transamerica did not give
  22   proper consideration to the welfare of Plaintiffs and Class Members and served
  23   solely its own interests at their expense. In addition, Transamerica has failed to
  24   truthfully, let alone reasonably, disclose or describe its course of conduct, or the
  25   basis and reasons for its course of conduct.
  26               Transamerica’s alleged acts and omissions were and are unreasonable
  27   and without proper cause. If left unabated, Transamerica’s conduct will frustrate
  28
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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 34 of 242 Page ID
                                  #:9605



   1   and deprive Plaintiffs and the Class Members of the reasonably expected benefits
   2   of the Policies.
   3                Transamerica has, in particular, improperly withheld benefits due
   4   Plaintiffs and the Class Members under the Policies, because the unlawful increase
   5   in the Monthly Deduction has both (a) reduced the value of their accumulation
   6   account, and (b) reduced the amount of interest credited on their accumulation
   7   accounts.
   8                Transamerica’s tortious breach of the covenant of good faith and fair
   9   dealing has proximately caused damages to Plaintiffs and Class Members in an
  10   amount to be determined at the time of trial.
  11                Transamerica’s conduct was intentional, deliberate, and constitutes
  12   oppression, fraud, or malice. Plaintiffs and the Class Members are entitled to
  13   recover punitive and exemplary damages in an amount to be determined by the
  14   trier of fact. Plaintiffs also seek an order requiring Transamerica to disgorge all
  15   profits that it received in connection with the above referenced wrongful acts and
  16   omissions.
  17                In addition, unless Transamerica is preliminarily and permanently
  18   enjoined from continuing to deduct the unlawfully increased Monthly Deduction
  19   charges, Plaintiffs and Class Members will suffer severe and irreparable injuries
  20   for which they have no adequate remedy at law.
  21                           FOURTH CAUSE OF ACTION
  22                (Injunctive and Restitutionary Relief Pursuant to UCL
        –Feller, Thompson and Lyons Plaintiffs on behalf of the California Subclasses)
  23
  24                Plaintiffs refer to the prior paragraphs of this Complaint and
  25   incorporate those paragraphs as though set forth in full in this cause of action.
  26                Transamerica committed acts of unfair competition by engaging in,
  27   among others, the following practices:
  28
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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 35 of 242 Page ID
                                  #:9606



   1              a.    Marketing and selling the Policies on the premise that they were
                        a solid and good life insurance product that would provide a
   2                    certain death benefit for a certain cost and duration and
   3                    subsequently taking steps to prevent Policyholders from
                        receiving the promised benefits from those Policies by
   4                    suddenly, massively, and unlawfully increasing the cost of the
   5                    Policies through the MD Increase.

   6              b.    Imposing the MD Increase even though Transamerica’s
                        expected future mortality has improved and is better than the
   7                    mortality upon which the original MD Rate schedule is based --
   8                    in order to increase premiums, recoup past losses, and/or force
                        its insureds to surrender (cancel) their Policies, all of which was,
   9
                        and is, contrary to, and precluded by, the express terms of the
  10                    Policies. The Monthly Deduction charges were increased
                        effective August 1, 2015, so that Transamerica could reduce the
  11
                        size of an unprofitable block of life insurance policies, to
  12                    eliminate long-anticipated losses on the Policies, and to cause
                        many of the Policyholders to surrender their Policies.
  13
                        Transamerica breached its duties under the Policies by
  14                    improperly increasing the Monthly Deduction charges in order
                        to recoup past losses and gain or retain an unfair competitive
  15
                        advantage over other life insurers.
  16
                  c.    After the sale of the Policies, continuing to send annual reports,
  17                    policy servicing statements, illustrations and other documents
  18                    and correspondence to Plaintiffs and the Class Members without
                        disclosing that there would be sudden, dramatic, and cost-
  19                    prohibitive increases in the Monthly Deduction charges
  20                    effective August 1, 2015.
  21              d.    Failing to provide any meaningful advance warning that it
                        intended to massively and suddenly increase the Monthly
  22
                        Deduction charges effective August 1, 2015, through the MD
  23                    Increase.
  24              e.    Ultimately providing a false and misleading explanation to
  25                    Plaintiffs and the Class Members of the grounds for the MD
                        Increase.
  26
  27              A claim under the Unfair Competition Law’s (“UCL’s”) “unlawful”
  28
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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 36 of 242 Page ID
                                  #:9607



   1   prong can be predicated on any business practice “forbidden by law, be it civil or
   2   criminal, federal, state, or municipal, statutory, regulatory, or court made.”
   3   Agarwal v. Pomona Valley Med. Grp. Inc., 476 F.3d 665, 674 (9th Cir. 2007).
   4   Transamerica violated the “unlawful” prong through its alleged misconduct,
   5   including the tortious breach of the implied obligation of good faith and fair dealing
   6   as alleged above.
   7               A claim under the UCL’s “unfair” prong is predicated on a “business
   8   practice” that “violates established public policy” or is “immoral, unethical,
   9   oppressive or unscrupulous and causes injury to consumers which outweighs its
  10   benefits.” Eisen v. Porsche Cars N. America, Inc., No. CV 11-9405 CAS (FEMx),
  11   2012 WL 841019, at *5 (C.D. Cal. Feb. 22, 2012) (citing McKell v. Washington
  12   Mut., Inc., 142 Cal. App. 4th 1457, 1473 (2006). Transamerica violated the
  13   “unfair” prong by excessively raising the Monthly Deduction for reasons not
  14   authorized under the Policies, and unfairly shifting to Plaintiffs and Class
  15   Members: (a) losses suffered by Transamerica when the Policies ceased to be as
  16   profitable as Transamerica had hoped based on its original (but mistaken) pricing
  17   assumptions; and (b) Transamerica’s cost of meeting its obligations to pay credited
  18   interest at the 4% annual and 5.5% effective guaranteed rates.
  19               Plaintiffs are informed and believe and on that basis allege that the
  20   “unfair” and “unlawful” practices alleged above are continuing in nature and are
  21   widespread practices engaged in by Transamerica.
  22               On behalf of the general public and the Classes, Plaintiffs respectfully
  23   request that the Court issue an injunction against Transamerica preliminarily and
  24   permanently enjoining it (i) from continuing to engage in unlawful and unfair
  25   conduct and preventing Transamerica from collecting the unlawfully and unfairly
  26   increased Monthly Deduction charges in violation of the Policies and (ii) ordering
  27   any Policy to be reinstated that lapsed or terminated as a result of the MD Increase.
  28
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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 37 of 242 Page ID
                                  #:9608



   1               On behalf of the general public and the Classes, Plaintiffs furthermore
   2   respectfully request that this Court order restitution to be paid by Transamerica to
   3   the Classes for Monthly Deduction charges, premiums, and other amounts
   4   wrongfully required, obtained and collected as the result of the MD Increase in
   5   violation of the Policies.
   6               Plaintiffs respectfully request an award of attorneys’ fees as the
   7   prevailing party in his request for injunctive relief and restitutionary relief against
   8   Transamerica on behalf of themselves and the Class Members.
   9                                FIFTH CAUSE OF ACTION
  10                         (For Declaratory Relief – All Classes)
  11               Plaintiffs refer to the prior paragraphs of this Complaint and
  12   incorporate those paragraphs as though set forth in full in this cause of action.
  13               An actual controversy has arisen and now exists between Plaintiffs and
  14   the Class Members, on the one hand, and Transamerica, on the other hand,
  15   concerning the respective rights and duties of the parties under the Policies.
  16               Transamerica contends that it lawfully and appropriately increased
  17   Monthly Deductions effective August 1, 2015, through the MD Increase, has
  18   appropriately collected (and is still collecting) Monthly Deduction charges based
  19   on the elevated Monthly Deduction Rates, and that it is permitted to continue to
  20   collect these charges for the duration of the Policies. On the other hand, Plaintiffs
  21   and Class Members maintain that Transamerica, through the MD Increase, has
  22   inappropriately and unlawfully, in material breach of the express and implied terms
  23   of the Policies, collected inflated Monthly Deduction charges.
  24                Plaintiffs, on behalf of themselves and the Classes, seek a declaration
  25   as to the parties’ respective rights under the Policies and request the Court to
  26   declare that the MD Increase is unlawful and in material breach of the Policies’
  27   terms so that future controversies may be avoided.
  28
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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 38 of 242 Page ID
                                  #:9609



   1                              SIXTH CAUSE OF ACTION
   2       (For Elder Abuse – Lyons and Thompson Plaintiffs on behalf of California
                                     Subclass III Only)
   3
                    Plaintiffs refer to the prior paragraphs of this Complaint and
   4
       incorporate those paragraphs as though set forth in full in this cause of action.
   5
                    This cause of action is brought under California's Welfare and
   6
       Institutions Code section 15610, et seq.
   7
                    Plaintiffs Thompson and Lyons and each member of California Class
   8
       III were 65 years or older at all times relevant to this claim.
   9
                    By imposing the MD Increase, Transamerica took, depleted,
  10
       appropriated and/or retained Lyons’, Thompson’s and the Class Members’
  11
       personal property in bad faith for a wrongful use and/or with the intent to defraud,
  12
       which constitutes financial abuse as defined in California Welfare & Institutions
  13
       Code section 15610.30.
  14
                    Transamerica is guilty of oppression, fraud, and malice in the
  15
       commission of the above-described acts of abuse. At a minimum, Transamerica
  16
       knew or should have known that its conduct was likely to be harmful to elders.
  17
                    Under California Civil Code section 3294 Transamerica is liable to
  18
       Lyons, Thompson, and the Class Members for punitive damages.
  19
                    Under California Welfare & Institutions Code section 15657.5
  20
       Transamerica is liable to the Lyons and Thompson Plaintiffs and Class Members
  21
       aged 65 years or older for reasonable attorney fees and costs.
  22
                                     PRAYER FOR RELIEF
  23
             WHEREFORE, Plaintiffs, individually and on behalf of the Class, pray for
  24
       relief as follows as applicable for the particular cause of action:
  25
  26
  27
  28
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             SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 39 of 242 Page ID
                                  #:9610



   1         1.     An Order certifying this action to proceed on behalf of the Class,
   2 including the Subclasses, and appointing Plaintiffs and the counsel listed below to
   3 represent the Classes;
   4         2.     An Order awarding Plaintiffs and Class Members entitled to such relief
   5 restitution and/or disgorgement and such other equitable relief as the Court deems
   6 proper;
   7
             3.     An Order enjoining Transamerica, its representatives, and all others
   8
       acting with it or on its behalf from using Monthly Deduction Rates based on the
   9
       MD Rate Increase and from unlawfully charging excessive Monthly Deduction
  10
       Rates for the Policies and requiring those rates to be at levels that are consistent
  11
       with the terms of the policies, and other appropriate injunctive relief;
  12
             4.     An Order providing preliminary and permanent injunctive relief
  13
       requiring Transamerica, its representatives, and all others acting with it or on its
  14
       behalf to reinstate any Class Member whose Policy was cancelled or surrendered as
  15
       a result of the MD Rate Increase;
  16
             5.     An Order providing a declaration that the MD Rate Increase materially
  17
       breaches the Policies, and that Transamerica must determine the Monthly
  18
       Deduction Rates only on the grounds authorized under the Policies;
  19
             6.     An Order awarding Plaintiffs and the Subclass Members who might be
  20
       entitled to such relief actual, compensatory, statutory, punitive, and/or exemplary
  21
       damages;
  22
  23         7.     An Order awarding Plaintiffs’ attorneys’ fees, expert witness fees and

  24 other costs pursuant to the state statutory causes of action set forth above that permit
  25 such an award; and
  26         8.     An Order awarding such other and further relief as may be just and
  27 proper, including pre-judgment and post-judgment interest on the above amounts.
  28
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             SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 40 of 242 Page ID
                                  #:9611



   1                             DEMAND FOR JURY TRIAL
   2         Plaintiffs demand a jury trial.
   3
       Dated: August 17, 2017.
   4
   5                             BONNETT, FAIRBOURN, FRIEDMAN
                                  & BALINT, PC
   6
   7                             By: /s/Andrew S. Friedman
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  28
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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 41 of 242 Page ID
                                  #:9612



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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 42 of 242 Page ID
                                  #:9613



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                                           41
            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 43 of 242 Page ID
                                  #:9614



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            SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 44 of 242 Page ID
                                  #:9615




                  EXHIBIT A
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 45 of 242 Page ID
                                  #:9616
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 46 of 242 Page ID
                                  #:9617
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 47 of 242 Page ID
                                  #:9618
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 48 of 242 Page ID
                                  #:9619
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 49 of 242 Page ID
                                  #:9620
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 50 of 242 Page ID
                                  #:9621
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 51 of 242 Page ID
                                  #:9622
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 52 of 242 Page ID
                                  #:9623
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 53 of 242 Page ID
                                  #:9624
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 54 of 242 Page ID
                                  #:9625
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 55 of 242 Page ID
                                  #:9626
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 56 of 242 Page ID
                                  #:9627
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 57 of 242 Page ID
                                  #:9628
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 58 of 242 Page ID
                                  #:9629
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 59 of 242 Page ID
                                  #:9630
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 60 of 242 Page ID
                                  #:9631
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 61 of 242 Page ID
                                  #:9632
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 62 of 242 Page ID
                                  #:9633
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 63 of 242 Page ID
                                  #:9634
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 64 of 242 Page ID
                                  #:9635
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 65 of 242 Page ID
                                  #:9636
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 66 of 242 Page ID
                                  #:9637
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 67 of 242 Page ID
                                  #:9638
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 68 of 242 Page ID
                                  #:9639
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 69 of 242 Page ID
                                  #:9640
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 70 of 242 Page ID
                                  #:9641
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 71 of 242 Page ID
                                  #:9642
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 72 of 242 Page ID
                                  #:9643
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 73 of 242 Page ID
                                  #:9644
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 74 of 242 Page ID
                                  #:9645
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 75 of 242 Page ID
                                  #:9646
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 76 of 242 Page ID
                                  #:9647
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 77 of 242 Page ID
                                  #:9648
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 78 of 242 Page ID
                                  #:9649
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 79 of 242 Page ID
                                  #:9650
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 80 of 242 Page ID
                                  #:9651
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 81 of 242 Page ID
                                  #:9652
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 82 of 242 Page ID
                                  #:9653
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 83 of 242 Page ID
                                  #:9654
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 84 of 242 Page ID
                                  #:9655
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 85 of 242 Page ID
                                  #:9656
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 86 of 242 Page ID
                                  #:9657
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 87 of 242 Page ID
                                  #:9658
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 88 of 242 Page ID
                                  #:9659
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 89 of 242 Page ID
                                  #:9660
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 90 of 242 Page ID
                                  #:9661
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 91 of 242 Page ID
                                  #:9662
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 92 of 242 Page ID
                                  #:9663
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 93 of 242 Page ID
                                  #:9664
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 94 of 242 Page ID
                                  #:9665
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 95 of 242 Page ID
                                  #:9666
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 96 of 242 Page ID
                                  #:9667
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 97 of 242 Page ID
                                  #:9668
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 98 of 242 Page ID
                                  #:9669
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 99 of 242 Page ID
                                  #:9670
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 100 of 242 Page ID
                                   #:9671
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 101 of 242 Page ID
                                   #:9672
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 102 of 242 Page ID
                                   #:9673
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 103 of 242 Page ID
                                   #:9674
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 104 of 242 Page ID
                                   #:9675
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 105 of 242 Page ID
                                   #:9676
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 106 of 242 Page ID
                                   #:9677
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 107 of 242 Page ID
                                   #:9678
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 108 of 242 Page ID
                                   #:9679
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 109 of 242 Page ID
                                   #:9680
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 110 of 242 Page ID
                                   #:9681
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 111 of 242 Page ID
                                   #:9682
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 112 of 242 Page ID
                                   #:9683
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 113 of 242 Page ID
                                   #:9684
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 114 of 242 Page ID
                                   #:9685
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 115 of 242 Page ID
                                   #:9686
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 116 of 242 Page ID
                                   #:9687
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 117 of 242 Page ID
                                   #:9688
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 118 of 242 Page ID
                                   #:9689
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 119 of 242 Page ID
                                   #:9690
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 120 of 242 Page ID
                                   #:9691
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 121 of 242 Page ID
                                   #:9692
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 122 of 242 Page ID
                                   #:9693
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 123 of 242 Page ID
                                   #:9694
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 124 of 242 Page ID
                                   #:9695
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 125 of 242 Page ID
                                   #:9696
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 126 of 242 Page ID
                                   #:9697
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 127 of 242 Page ID
                                   #:9698
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 128 of 242 Page ID
                                   #:9699
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 129 of 242 Page ID
                                   #:9700
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 130 of 242 Page ID
                                   #:9701
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 131 of 242 Page ID
                                   #:9702
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 132 of 242 Page ID
                                   #:9703
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 133 of 242 Page ID
                                   #:9704
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 134 of 242 Page ID
                                   #:9705
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 135 of 242 Page ID
                                   #:9706
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 136 of 242 Page ID
                                   #:9707
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 137 of 242 Page ID
                                   #:9708
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 138 of 242 Page ID
                                   #:9709
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 139 of 242 Page ID
                                   #:9710
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 140 of 242 Page ID
                                   #:9711
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 141 of 242 Page ID
                                   #:9712
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 142 of 242 Page ID
                                   #:9713
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 143 of 242 Page ID
                                   #:9714
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 144 of 242 Page ID
                                   #:9715
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 145 of 242 Page ID
                                   #:9716
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 146 of 242 Page ID
                                   #:9717
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 147 of 242 Page ID
                                   #:9718
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 148 of 242 Page ID
                                   #:9719
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 149 of 242 Page ID
                                   #:9720
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 150 of 242 Page ID
                                   #:9721
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 151 of 242 Page ID
                                   #:9722
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 152 of 242 Page ID
                                   #:9723
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 153 of 242 Page ID
                                   #:9724
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 154 of 242 Page ID
                                   #:9725
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 155 of 242 Page ID
                                   #:9726
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 156 of 242 Page ID
                                   #:9727
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 157 of 242 Page ID
                                   #:9728
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 158 of 242 Page ID
                                   #:9729
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 159 of 242 Page ID
                                   #:9730
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 160 of 242 Page ID
                                   #:9731
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 161 of 242 Page ID
                                   #:9732
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 162 of 242 Page ID
                                   #:9733
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 163 of 242 Page ID
                                   #:9734
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 164 of 242 Page ID
                                   #:9735
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 165 of 242 Page ID
                                   #:9736
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 166 of 242 Page ID
                                   #:9737
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 167 of 242 Page ID
                                   #:9738
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 168 of 242 Page ID
                                   #:9739
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 169 of 242 Page ID
                                   #:9740
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 170 of 242 Page ID
                                   #:9741
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 171 of 242 Page ID
                                   #:9742
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 172 of 242 Page ID
                                   #:9743
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 173 of 242 Page ID
                                   #:9744
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 174 of 242 Page ID
                                   #:9745
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 175 of 242 Page ID
                                   #:9746
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 176 of 242 Page ID
                                   #:9747
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 177 of 242 Page ID
                                   #:9748
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 178 of 242 Page ID
                                   #:9749
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 179 of 242 Page ID
                                   #:9750
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 180 of 242 Page ID
                                   #:9751
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 181 of 242 Page ID
                                   #:9752
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 182 of 242 Page ID
                                   #:9753
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 183 of 242 Page ID
                                   #:9754
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 184 of 242 Page ID
                                   #:9755
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 185 of 242 Page ID
                                   #:9756
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 186 of 242 Page ID
                                   #:9757
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 187 of 242 Page ID
                                   #:9758
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 188 of 242 Page ID
                                   #:9759
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 189 of 242 Page ID
                                   #:9760
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 190 of 242 Page ID
                                   #:9761
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 191 of 242 Page ID
                                   #:9762
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 192 of 242 Page ID
                                   #:9763
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 193 of 242 Page ID
                                   #:9764
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 194 of 242 Page ID
                                   #:9765
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 195 of 242 Page ID
                                   #:9766
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 196 of 242 Page ID
                                   #:9767
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 197 of 242 Page ID
                                   #:9768
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 198 of 242 Page ID
                                   #:9769
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 199 of 242 Page ID
                                   #:9770
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 200 of 242 Page ID
                                   #:9771
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 201 of 242 Page ID
                                   #:9772
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 202 of 242 Page ID
                                   #:9773
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 203 of 242 Page ID
                                   #:9774
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 204 of 242 Page ID
                                   #:9775
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 205 of 242 Page ID
                                   #:9776
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 206 of 242 Page ID
                                   #:9777
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 207 of 242 Page ID
                                   #:9778
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 208 of 242 Page ID
                                   #:9779
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 209 of 242 Page ID
                                   #:9780
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 210 of 242 Page ID
                                   #:9781
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 211 of 242 Page ID
                                   #:9782
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 212 of 242 Page ID
                                   #:9783
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 213 of 242 Page ID
                                   #:9784
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 214 of 242 Page ID
                                   #:9785
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 215 of 242 Page ID
                                   #:9786
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 216 of 242 Page ID
                                   #:9787
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 217 of 242 Page ID
                                   #:9788
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 218 of 242 Page ID
                                   #:9789
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 219 of 242 Page ID
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Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 220 of 242 Page ID
                                   #:9791
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 221 of 242 Page ID
                                   #:9792
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 222 of 242 Page ID
                                   #:9793
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 223 of 242 Page ID
                                   #:9794
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 224 of 242 Page ID
                                   #:9795
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 225 of 242 Page ID
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Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 226 of 242 Page ID
                                   #:9797
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 227 of 242 Page ID
                                   #:9798
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 228 of 242 Page ID
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Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 229 of 242 Page ID
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Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 230 of 242 Page ID
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Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 231 of 242 Page ID
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Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 232 of 242 Page ID
                                   #:9803
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 233 of 242 Page ID
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Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 234 of 242 Page ID
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Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 235 of 242 Page ID
                                   #:9806
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 236 of 242 Page ID
                                   #:9807
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 237 of 242 Page ID
                                   #:9808
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 238 of 242 Page ID
                                   #:9809
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 239 of 242 Page ID
                                   #:9810
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 240 of 242 Page ID
                                   #:9811
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 241 of 242 Page ID
                                   #:9812
Case 2:16-cv-01378-CAS-GJS Document 293 Filed 08/18/17 Page 242 of 242 Page ID
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                   EXHIBIT B
